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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                  : Case No. 08-12667 (AJG)
                                                                  :
                                                                  : Chapter 7
                                                                  :
 In Re:                                                           :
                                                                  :
                                                                  : JUDGMENT
 BOAZ BAGBAG,                                                     :
                                                                  :
                                                                  :
               Debtor.                                            :
                                                                  :        BC 10,0127
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        The Debtor Boaz Bagbag having entered into a Stipulation with creditor Summa Capital

 Corp. (“Summa”) dated June 4, 2010, providing that a judgment be entered against the Debtor

 and in favor of Summa, and said Stipulation having been so-ordered on June 8, 2010,

        Now, upon the motion of Amy Schulder, Esq., attorney for Summa, it is hereby

        ORDERED, that Summa Capital Corp., a New York corporation with its principal place

 of business located at 350 Fifth Avenue, New York, New York 10118, have judgment against

 and recover from Debtor Boaz Bagbag, residing at 304 East 78th Street, Apartment 5F, New

 York, New York 10021, the sum of $1,212,062.40, and that Summa have execution therefor.




 Dated: June 8, 2010

                                          s/Arthur J. Gonzalez
                                          HONORABLE ARTHUR J. GONZALEZ
                                          CHIEF UNITED STATES BANKRUPTCY JUDGE
